’ Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 1 of 33 Page|D# 1

FILED

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

UNlTED STATES OF AMERICA g r_el.

ROBERT K. FULK, the DISTRICT of COLUMBIA
g r_el. ROBERT K. FULK, CALIFORNIA g ;g!.
ROBERT K. FULK, DELAWARE g gg_l_. ROBERT
K. FULK, FLORIDA g_x_ _1;§_1_. ROBERT K. FULK,
HAWAII §§ r_el. ROBERT K. FULK, ILLINOIS e_x
r_el. ROBERT K. FULK, INDIANA e_x _l;g!. ROBERT
K. FULK, MASSACHUSETTS §§ L§l_. ROBERT K.
FULK, MINNESOTA e_x r_el. ROBERT K. FULK,
MON'I'ANA _e_x_l_ _1;9!. ROBERT K. FULK, NEVADA e_x
r_el. ROBERT K. FULK, NEW HAMPSHIRE g y_g!.
ROBERT K. FULK, NEW JERSEY §§ y_e!. ROBERT
K. FULK, NEW MEXICO g r_el. ROBERT K.
FULK, NEW YORK g E!. ROBERT K. FULK,
NORTH CAROLINA g r_el. ROBERT K. FULK,
OKLAHOMA e_x r_el. ROBERT K. FULK, RHODE
ISLAND g_x_ [il. ROBERT K. FULK, TENNESSEE 95
r_el. ROBERT K. FULK, VIRGINIA g g_e_!. ROBERT
K. FULK, THE CITY OF CHICAGO g El.
ROBERT K. FULK, NEW YORK CITY 95 r_el.
ROBERT K. FULK, and ROBERT K. FULK,
individually,

Plaintiffs
v.

UNITED PARCEL SERVICE, UPS SUPPLY
CHAIN, AND UPS FREIGHT

Defendants.

 

 

zez'. q ::1-= '.3

CASE NO ) 10/@6/@

FILED UNDER sEAL
PURSUANT To 31 U.s.c. §
3729 g sEQ.

JURY TRIAL DEMANDED

COMPLAINT FOR DAMAGES UNDER THE FEDERAL FALSE CLAIMS
ACT AND VARIOUS STATE AND CITY FALSE CLAIMS ACTS AND
DEMAND FOR JURY TRIAL

This is an action against United Parcel Service, UPS Supply Chain, and UPS Freight for

engaging in fraudulent billing practices that violate the federal False Claims Act and its state and

city law counterparts. This action is brought by Robert K. Fulk (“Relator” , by and through his

undersigned attorneys, on behalf of himself, the United States of America (“United States”) and

Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 2 of 33 Page|D# 2

the District of Columbia, the State of California, the State of Delaware, the State of Florida, the
State of Hawaii, the State of Illinois, the State of Indiana, the Commonwealth of Massachusetts,
the State of Minnesota, the State of Montana, the State of Nevada, the State of New Hampshire,
the State of New Jersey, the State of New Mexico, the State of New York, the State of North
Carolina, the State of Oklahoma, the State of Rhode Island, the State of Tennessee, the
Commonwealth of Virginia, the city of Chicago and New York City (collectively “Plaintiff
States and Local Governments”). Relator avers as follows for his Complaint against United
Parcel Service, UPS Supply Chain, and UPS Freight (collectively “UPS” or “Defendants”) based
upon personal knowledge and relevant documents:
I. INTRODUCTION

l. Defendants UPS charge the United States and various state and local governments
hundreds of millions of dollars annually for delivery services. The services offered by UPS must
compete with similar services offered by such companies as Federal Express and the United
States Postal Service. In order to maximize its profit in such a competitive environment, UPS
has implemented a systematic pattern of fraud against the United States and Plaintif’f States and
Local Governments. UPS accomplishes this fraud by charging the United States and Plaintiff
States and Local Govemments for premium classes of delivery with guaranteed delivery times
without actually providing the paid for service. UPS thereby defrauds the United States and
Plaintiff` States and Local Governments by obtaining payment for services not actually delivered
by utilizing such techniques as:

0 Creating false records by entering fraudulent delivery times into its tracking
system so as to make it appear packages were delivered on time when they

were not;

Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 3 of 33 Page|D# 3

o Falsely representing to the federal, state and local government customers that
nonexistent security delays caused the failure of service;

o Falsely representing to federal, state and local government customers that the
customers had requested later deliveries when they had not.

2. From at least 2004, UPS employed these and other techniques to make false
claims amounting to hundreds of millions of dollars as well as to avoid paying its promised
money-back guarantee to federal, state and local government customers

3. These schemes allow UPS to subsidize its delivery service costs by putting
government customers last and servicing its non-govemment customers first.

4. These schemes also allow UPS to avoid ever paying its money-back guarantee for
late deliveries.

5. Relator Robert K. Fulk is uniquely qualified to assist the United States in
uncovering this fraud as his employment experience with UPS includes both working as a
delivery driver as well as working in management as an Air, Driver, Pre-Load and Local Sort
Operations Supervisor. Relator is the original source of the facts and information hereinafter set
forth concerning the activities of the Defendants. The facts averred herein are based upon
Relator's direct, independent, and personal knowledge, upon information and belief, and also
upon documents in his possession

II. PARTIES

6. Relator Robert K. Fulk is a resident of the Commonwealth of Virginia.

7. UPS is a corporation with its principal place of business in Sandy Springs,
Georgia. Defendants are principally engaged in providing business services, including packing,
shipping, and transportation Defendants conduct business in more than 220 countries and

territories, including the United States, and the Commonwealth of Virginia.

Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 4 of 33 Page|D# 4

III. JURISDICTION AND VENUE

8. This Court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. § 1331, 28 U.S.C. § 1367 and 31 U.S.C. § 3732, the last of which specifically confers
jurisdiction on this Court for actions brought pursuant to 31 U.S.C. §§ 3729 and 3730. Under 31
U.S.C. § 3730(e) as amended, there has been no statutorily relevant public disclosure of the
“allegations or transactions” in this Complaint. Relator Fulk moreover qualifies under that
section of the Palse Claims Act as an “original source” of the allegations in this Complaint even
had such a public disclosure occurred.

9. Upon the filing of this complaint, Relator Fqu shall concurrently serve upon the
Attomey General of the United States and the United States Attomey for the Eastem District of
Virginia, the Plaintiff States’ Attomeys Generals’ offices (or other State offices designated by
statute), the city clerk for the City of Chicago, and the New York City Department of
lnvestigation this complaint and a disclosure statement summarizing substantially all material
facts and information relevant to this case pursuant to 31 U.S.C. § 3730(b)(2). This disclosure
statement is supported by material evidence known to Relator at his filing establishing the
existence of Defendants' false claims. Because the statement includes attorney-client
communications and work product of Relator's attomeys, and is submitted to the Attomey
General and to the United States Attomey in their capacity as potential co-counsel in the
litigation, the Relator understands this disclosure to be confidential and the initial disclosure
statement and all documents provided therewith, and all supplements thereto, are incorporated
herein by reference

lO. This Court has personal jurisdiction and venue over the Defendants pursuant to 28
U.S.C. § l39l(b) and 31 U.S.C. § 3732(a) because those sections authorize nationwide service of
process and because acts proscribed by 31 U.S.C. § 3729 e_t B. and complained of herein took

place in this district. Moreover, at all times material and relevant, Defendants could be found,
4

Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 5 of 33 Page|D# 5

resided and transacted business in this District, and continue to do so. This Court has
supplemental jurisdiction over the State and City law claims pursuant to 28 U.S.C. § l367(a).
IV. BACKGROUND

l l. Defendants UPS offer ground delivery and express package services within the
United States, including: UPS Next Day Air Early A.M. (delivery time guaranteed for as early as
8:00 a.m. the following business day, depending on the zip code); UPS Next Day Air (delivery
time guaranteed for as early as 10:30 a.m. the following business day, depending on the zip
code); and UPS Next Day Air Saver (delivery time guaranteed for as early as 3:00 p.m. the next
business day, depending on the zip code).

12. Defendants UPS offer international express and ground package services,
including: UPS Express Critical (delivery date and time provided and guaranteed when order is
placed); UPS Worldwide Express Plus (1-3 business days delivery time guaranteed for as early
as 8:30 a.m.); and UPS Worldwide Express (1-3 business days delivery time guaranteed for as
early as 10:30 a.m.).

13. Prices for both domestic and international UPS services are based on package
weight, shipment dimensions, destination and type of service purchased, plus special fees and
surcharges, including fuel surcharges, multiple-piece shipments, oversize packages, and re-
delivery service.

14. A large percentage of Defendants‘ business consists of delivery services
contracted for and paid for by the United States, Plaintifi` States and Local Govemments. Upon
information and belief, Defendants' annual gross revenue from government contracts amounts to
hundreds of millions of dollars.

15. A large percentage of Defendants’ business consists of delivery services
contracted for and paid for by government contractors who pass the cost of these services

through to the United States, Plaintif`f States and Local Govemments. Upon information and
5

Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 6 of 33 Page|D# 6

belief, Defendants‘ annual gross revenues from government contractors who then pass the cost of
Defendants‘ services onto the government amount to many millions of dollars.

16. When the United States, Plaintiff States and Local Govemments contract with
UPS for delivery services, a shipping label is filled out for each package, indicating such
information as the destination, class of service and billing information. The class of service
purchased indicates the delivery time for which the customer has contracted. For example, if the
customer has purchased UPS Next Day Air with a guarantee time of 10:30 a.m., then the
package is guaranteed to be delivered by 10:30 a.m. the following moming.

17. Each package handled by UPS is assigned a tracking number, also known as a bar
code, at the time the sender gives the package to UPS. UPS drivers scan the bar codes on the
packages at the time the packages are actually delivered to the customer. The tracking system
allows UPS to make a record of any delays that may occur in delivery. If a delay does occur,
then UPS is obligated to refund a customer.

18. UPS promises its customers that a failure to deliver on-time will entitle the
customer to a refund. UPS defines a failure to deliver on time as any time the service occurs
after the agreed upon delivery commitment time for the selected service and destination.

l9. A limited number of exceptions exist to UPS’s service guarantee including delays
caused by bad weather, a bad address on the package, or delays caused by security procedures at
the delivery location. A delay in delivery may also occur where the recipient of a package has
requested a later delivery time than the time originally contracted for. This exception is referred
to as a “request late.”

V. APPLICABLE LAW

20. This action to recover damages and civil penalties on behalf of the United States

of America and the Plaintiff States and Local Govemments arises from false and/or fraudulent

records, statements and claims made, used and caused to be made, used or presented by
6

Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 7 of 33 Page|D# 7

Defendants and/or their agents, employees and co-conspirators in violation of the F ederal Civil
False Claims Act, 31 U.S.C. § 3729 ;e_t §§_g., as amended (“the FCA” or “the Act”) and its state-
law and city-law counterparts: the District of Columbia Procurement Reform Amendment Act,
D.C. Code Ann. § 1-1188.13 e_t M.; the California False Claims Act, Cal. Gov Code § 12650 e_t
M.; the Delaware False Claims and False Reporting Act, 6 Del. C. § 1201 et M.; the Florida
False Claims Act, Fla. Stat. Ann. § 68.081 §_t_ _s_eg.; the Hawaii False Claims Act, Haw. Rev. Stat.
§ 661-21 e_t s_eq.; the lllinois Whistleblower Reward and Protection Act, 740 Ill. Comp. Stat. §
175/1-8; the Indiana False Claims and Whistleblower Protection Act, Indiana Code 5-11-5.5 gt
M.; the Massachusetts False Claims Law, Mass. Gen. Laws ch. 12 § 5 e_t M.; the Minnesota
False Claims Act, Minn. Stat. § 15C.01 e_t §§g.; the Montana False Claims Act, 2005 Mont.
Code, Ch. 465; the Nevada False Claims Act, Nev. Rev. Stat. Ann. § 357.010 e_t M.; the New
Hampshire False Claims Act, § l67:6l-b e_t Leq.; the New Jersey False Claims Act, N.J. STAT. §
2A:32C-l; the New Mexico Medicaid False Claims Act, N.M. Stat. Ann.§ 27-2F-1 e_t mg the
New Mexico Fraud Against Taxpayers Act , N.M. Stat. § 44-9-1 e_t §e_q.; the New York False
Claims Act, State Finance Law. §187 e_t _sg.; the North Carolina False Claims Act, N.C. Gen.
Stat § 1-605 e_t M.; the Rhode Island False Claims Act, R.I. Gen. Laws § 9-1.1-1, et M.; the
Tennessee False Claims Act Tenn. Code Ann. § 4-18-101 e_t W.; the Virginia Fraud Against
Taxpayers Act, Va. Code Ann. § 8.01-216.1 _e_t M., the Chicago False Claims Act, Chicago
Municipal Code, ch. 1-22 e_t M., and the New York City False Claims Act, N.Y.C. Admin.
Code § 7-801, e_t Y_q.
VI. ALLEGATIONS

21 . Since at least 2004, when Relator began working for UPS, and for at least some
period of time preceding 2004, UPS began using a number of fraudulent methods to falsely
conceal the late delivery of packages. These methods includes entering false data showing on-

time delivery of packages before the package’s arrival at its delivery destination; placing a false
7

Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 8 of 33 Page|D# 8

reason in the tracking system to excuse a late delivery, for example entering into the system
information indicating that the delivery was delayed by security procedures at the destination
location when it was not and even before the driver had arrived at that location; blaming a late
delivery on bad weather when weather played no part in the delayed delivery; or blaming the late
delivery on a customer request when no such request was made, This fraudulent conduct is on-
going.

22. UPS presents a false claim to the United States and to the Plaintiff States and
Local Govemments each time it seeks payment for a delivery service not provided. Hundreds of
thousands of these false claims are presented each day by UPS to the United States and to the
Plaintiff States and Local Govemments.

23. The systematic presentation of these false claims to the United States, Plaintiff
States and Local Govemments over a period of years represents a deliberate scheme on the part
of UPS to overcharge the United States and the Plaintiff States and Local Govemments and nets
UPS millions of dollars a year.

24. This scheme not only fraudulently nets UPS millions of dollars directly from the
United States and the Plaintiff States and Local Govemments but also allows UPS to subsidize
its other non-government business at the expense of taxpayers.

25. UPS creates false records as part of its scheme to overcharge the United States
and Plaintiff States and Local Govemments by entering false delivery times into its tracking
system via what is known as the DIAD Board, indicating that the package was delivered on time
when it was not. UPS also creates false records by entering false excuses for delayed deliveries
into the DIAD Board.

26. UPS makes false representations to government customers regarding its failure to
provide certain classes of service when it claims that a delay in delivery to a government facility

was caused by a reason, such as a security delay, bad weather or a delay requested by the
8

Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 9 of 33 Page|D# 9

customer, when in fact the delay was caused by UPS's own action or inaction. These false
representations are also used by UPS to avoid living up to its service guarantee and avoid having
to refund any payments to its government customers, including the United States and Plaintiff
States and Local Govemments.

27 . Despite the fact that UPS has failed in some instances for years to deliver on time
service to certain government installations, it continues to charge the United States and Plaintiff
States and Local Govemments millions upon millions of dollars for a service it never delivers.

28. In addition, government contractors who pay for failed service pass on their costs
to the United States and Plaintiff States and Local Govemments so that UPS is directly
responsible for causing the contractors to submit false claims to the United States and Plaintiff
States and Local Govemments.

29. UPS benefits from each and every false claim and statement submitted for a failed
delivery service by charging and collecting for a service it does not provide. These false claims
for failed deliveries allow UPS to illegally reap millions if not hundreds of millions of dollars a
year from the United States and Plaintiff States and Local Govemments.

30. The false claims and statements allow UPS to subsidize its service to non-
government customers, Deliveries to non-government customers can be prioritized over those
for government customers because UPS depends on not having to deliver its government
customer‘s packages on time. This not only allows UPS to provide better service to its non-
government customers at the expense of the United States and the Plaintiff States and Local
Govemments but also increases UPS's profits from the non-government sector by reducing the
likelihood that its non-government deliveries will ever be late and cause UPS to have to provide
a reflmd.

31. UPS's false claims have caused the United States and the Plaintiff States and

Local Govemments enormous monetary losses by asking for payment for classes of delivery

9

' Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 10 of 33 Page|D# 10

service that were never provided. Further loss has occurred because the UPS service failures
have inconvenienced government workers and sometimes even impeded those workers from
performing their jobs.

VII. CLAIMS FOR RELIEF
COUNT ONE

(Violations of Federal False Claims Act)
(U.S.C. § 3729(a)(2)(A))

32. Relator repeats and incorporates by reference the allegations contained in
Paragraphs l through 31 of this Complaint as if fully set forth herein. This Count is brought by
Relator Fulk in the name of the United States under the qui tam provisions of 31 U.S.C. §3730 et
M. for Defendants’ violations of 31 U.S.C. § 3729 e_t M. As more particularly set forth in the
foregoing paragraphs, by virtue of the acts and omissions alleged herein Defendants knowingly
caused to be presented directly or indirectly to officers or employees of the United States
Govemment false or fraudulent claims for payment or approval, in violation of 31 U.S.C. §
3729(a)(2)(A).

33. Plaintiff United States, unaware of the falsity of the claims and/or statements
caused to be made by Defendants, and in reliance on the accuracy thereof`, have paid and
approved and continue to pay and approve, claims that were ineligible for reimbursement and
which would not have been paid or approved if any part of the truth were known.

34. The amounts of the false or fraudulent claims caused by the Defendants to be
submitted to the United States were material. By reason of Defendants’ wrongful conduct, the
United States has suffered substantial losses in an amount to be proven at trial, and therefore is
entitled to multiple damages under the False Claims Act, to be determined at trial, plus civil
penalties of $5,500 to $11,000 for each such false claim caused to be submitted by Defendants.

35. Relator believes and avers that he is an original source of the facts and

information upon which this action is based.

10

' Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 11 of 33 Page|D# 11

COUNT TWO

(Violations of False Claims Act)
(U.S.C. § 3729(a)(2)(B))

36. Relator repeats and incorporates by reference the allegations contained in
Paragraphs l through 35 of this Complaint as if fully set forth herein. This Count is brought by
Relator Fqu in the name of the United States under the qui tam provisions of 31 U.S.C. § 3730
e_t gm for Defendants’ violations of 31 U.S.C. § 3729 e_t M. As more particularly set forth in
the foregoing paragraphs, by virtue of the acts and omissions alleged herein, Defendants
knowingly made, used, or caused to be made or used false records or statements to get false or
fraudulent claims paid or approved by the United States in violation of 31 U.S.C. §
3729(a)(2)(B).

37 . Plaintiff United States, unaware of the falsity of the records and/or statements
caused to be made and used by Defendants, and in reliance on the accuracy thereof, have paid
and approved, and continue to pay and approve, claims that were ineligible for reimbursement
and which would not have been paid or approved if any part of the truth were known.

38. The amounts of the false or fraudulent claims caused by the Defendants to be
submitted to the United States were material. By reason of Defendants’ wrongful conduct, the
United States has suffered substantial losses in an amount to be proven at trial, and therefore is
entitled to multiple damages under the False Claims Act, to be determined at trial, plus a civil
penalty of $5,500 to $11,000 for each such false statement caused to be made or used by
Defendants.

39. Relator believes and avers that he is an original source of the facts and

information on which this action is based.

ll

' Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 12 of 33 Page|D# 12

COUNT THREE

(Violations of the False Claims Act)
(U.S.C. § 3729(a)(2)(G))

40. Relator repeats and incorporates by reference the allegations contained in
Paragraphs l through 39 of this Complaint as if fully set forth herein. This Count is brought by
Relator Fulk in the name of the United States under the qui tam provisions of 31 U.S.C. § 3730
e_t m. for Defendants’ violations of 31 U.S.C. § 3729 e_t M. As more particularly set forth in
the foregoing paragraphs, by virtue of the acts and omissions alleged herein, Defendants
knowingly made, used, or caused to be made or used false records or statements material to an
obligation to pay or transit money or property to the United States, or knowingly concealed or
knowingly and improperly avoided or decreased an obligation to pay or transmit money or
property to the United States in violation of 31 U.S.C. § 3729(a)(2)(G).

41. Plaintiff United States, unaware of the falsity of the records and/or statements
caused to be made and used by Defendants, and in reliance on the accuracy thereof, have paid
and approved, and continue to pay and approve, claims that were ineligible for reimbursement
and which would not have been paid or approved if any part of the truth were known.

42. The amounts of the false or fraudulent claims caused by the Defendants to be
submitted to the United States were material. By reason of Defendants’ wrongful conduct, the
United States has suffered substantial losses in an amount to be proven at trial, and therefore is
entitled to multiple damages under the False Claims Act, to be determined at trial, plus a civil
penalty of $5,500 to $11,000 for each such false statement caused to be made or used by
Defendants.

43. Relator believes and avers that he is an original source of the facts and

information on which this action is based.

12

` Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 13 of 33 Page|D# 13

COUNT FOUR

(Violations of the False Claims Act)
(U.S.C. § 3729(a)(2)(C))

44. Relator repeats and incorporates by reference the allegations contained in
Paragraphs l through 43 of this Complaint as if fully set forth herein. This Count is brought by
Relator Fulk in the name of the United States under the qui tam provisions of 31 U.S.C. § 3730
gt Lq. for Defendants’ violations of 31 U.S.C. § 3729 et siq. As more particularly set forth in
the foregoing paragraphs, by virtue of the acts and omissions alleged herein, Defendants
conspired to knowingly cause to be presented directly or indirectly to officers or employees of
the United States Govemment false or fraudulent claims for payment or approval, in violation of
31 U.S.C. § 3729(a)(2)(A).

45. As more particularly set forth in the foregoing paragraphs, by virtue of the acts
and omissions alleged herein, Defendants conspired to knowingly make, use, or caused to be
made or used false records or statements to get false or fraudulent claims paid or approved by the
United States in violation of 31 U.S.C. § 3729(a)(2)(B).

46. As more particularly set forth in the foregoing paragraphs, by virtue of the acts
and omissions alleged herein, Defendants conspired to knowingly make, use, or cause to be
made or used false records or statements material to an obligation to pay or transit money or
property to the United States, or knowingly conceal or knowingly and improperly avoid or
decrease an obligation to pay or transmit money or property to the United States in violation of
31 U.S.C. § 3729(a)(2)(G).

47. The amounts of the false or fraudulent claims caused by the Defendants to be
submitted to the United States were material. By reason of Defendants’ wrongfiil and
conspiratorial conduct, the United States has suffered substantial losses in an amount to be

proven at trial, and therefore is entitled to multiple damages under the False Claims Act, to be

13

' Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 14 of 33 Page|D# 14

determined at trial, plus a civil penalty of $5,500 to $11,000 for each such false statement caused
to be made or used by Defendants,

48. Relator believes and avers that he is an original source of the facts and
information on which this action is based.

COUNT FIVE

(District of Columbia False Claims Act)
(D.C. Code Ann. § 2-308.03 e_t M.)

49. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 48 of this Complaint as if fully set forth herein,

50. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the District of Columbia Govemment for payment
or approval.

51. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
District of Columbia Govemment to approve and pay such false and fraudulent claims.

52. The District of Columbia Govemment, unaware of the falsity of the records,
statements and claims made, used, presented or caused to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for the acts and/or
conduct of Defendants as alleged herein.

53. By reason of the Defendants’ acts, the District of Columbia has been damaged,
and continues to be damaged, in substantial amounts to be determined at trial.

54. Pursuant to D.C. Code Ann. § 2-308.14, the District of Columbia is entitled to
three times the amount of actual damages plus the maximum penalty of $10,000 for each and
every false or fraudulent claim, record or statement made, used, presented or caused to be made,

used or presented by Defendants,

14

t Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 15 of 33 Page|D# 15

COUNT SIX

(California False Claims Act)
(Cal. Govt. Code § 12651 e_t M.)

5 5. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 54 of this Complaint as if fully set forth herein.

56. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the California State Govemment for payment or
approval.

57. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
California State Govemment to approve and pay such false and fraudulent claims.

58. The California State Govemment, unaware of the falsity of the records,
statements and claims made, used, presented or caused to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for the acts and/or
conduct of Defendants as alleged herein.

59. By reason of the Defendants’ acts, the State of California has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

60. Pursuant to Cal. Govt. Code § 12651(a), the State of California is entitled to three
times the amount of actual damages plus the maximum penalty of $10,000 for each and every
false or fraudulent claim, record or statement made, used, presented or caused to be made, used
or presented by Defendants.

COUNT SEVEN

(Delaware False Claims and Reporting Act)
(Del Code Ann. tit. 6, § 1201 e_t gg.)

61. Relator repeats and incorporates by reference the allegations contained in

paragraphs l through 60 of this Complaint as if fully set forth herein,

15

. Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 16 of 33 Page|D# 16

62. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fiaudulent claims to the Delaware State Government for payment or
approval.

63. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
Delaware State Government to approve and pay such false and fraudulent claims.

64. The Delaware State Government, unaware of the falsity of the records, statements
and claims made, used, presented or caused to be made, used or presented by Defendants, paid
and continues to pay the claims that would not be paid but for the acts and/or conduct of
Defendants as alleged herein.

65. By reason of the Defendants’ acts, the State of Delaware has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

66. Pursuant to Del. Code Ann. tit. 6, § 1201 (a), the State of Delaware is entitled to
three times the amount of actual damages plus the maximum penalty of $l 1,000 for each and
every false or fraudulent claim, record or statement made, used, presented or caused to be made,
used or presented by Defendants.

COUNT EIGHT

(Florida False Claims Act)
(Fla. Stat. Ann. § 68.081 e_t M.)

67. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 66 of this Complaint as if fully set forth herein.

68. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the Florida State Government for payment or

approval.

16

l Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 17 of 33 Page|D# 17

69. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
Florida State Government to approve and pay such false and fraudulent clairns.

70. The Florida State Government, unaware of the falsity of the records, statements
and claims made, used, presented or caused to be made, used or presented by Defendants, paid
and continues to pay the claims that would not be paid but for the acts and/or conduct of
Defendants as alleged herein.

71. By reason of the Defendants’ acts, the State of Florida has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

72. Pursuant to Fla. Stat. Ann. § 68.082(2), the State of Florida is entitled to three
times the amount of actual damages plus the maximum penalty of $1 1,000 for each and every
false or haudulent claim, record or statement made, used, presented or caused to be made, used
or presented by Defendants.

COUNT NINE

(Hawaii False Claims Act)
(l-law. Rev. Stat. § 661-21 e_t M.)

73. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 72 of this Complaint as if fully set forth herein,

74. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the Hawaii State Government for payment or
approval.

75. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the

Hawaii State Government to approve and pay such false and fraudulent claims.

17

' Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 18 of 33 Page|D# 18

76. The Hawaii State Govemment, unaware of the falsity of the records, statements
and claims made, used, presented or caused to be made, used or presented by Defendants, paid
and continues to pay the claims that would not be paid but for the acts and/or conduct of
Defendants as alleged herein,

77. By reason of the Defendants’ acts, the State of Hawaii has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

78. Pursuant to Haw. Rev. Stat. § 661-21(a), the State of Hawaii is entitled to three
times the amount of actual damages plus the maximum penalty of 510,000 for each and every
false or fraudulent claim, record or statement made, used, presented or caused to be made, used
or presented by Defendants.

QQM

(Illinois Whistleblower Reward and Protection Act)
(740 Ill. Comp. Stat. § 175/1 §§ §_e_q.)

79. Relator repeats and incorporates by reference the allegations contained in
paragraphs l through 78 of this Complaint as if fully set forth herein.

80. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the lllinois State Government for payment or
approval.

81. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
lllinois State Government to approve and pay such false and fraudulent claims.

82. The lllinois State Govemment, unaware of the falsity of the records, statements
and claims made, used, presented or caused to be made, used or presented by Defendants, paid
and continues to pay the claims that would not be paid but for the acts and/or conduct of

Defendants as alleged herein.

18

v Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 19 of 33 Page|D# 19

83. By reason of the Defendants’ acts, the State of lllinois has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

84. Pursuant to 740 Ill. Comp. Stat. § 175/3(a), the State of lllinois is entitled to three
times the amount of actual damages plus the maximum penalty of $1 1,000 for each and every
false or fraudulent claim, record or statement made, used, presented or caused to be made, used
or presented by Defendants,

COUNT ELEVEN

(Indiana False Claims and Whistleblower Protection Act)
(Ind. Code § 5-11-5.5-1 e_t M.)

85. Relator repeats and incorporates by reference the allegations contained in
paragraphs l through 84 of this Complaint as if fully set forth herein.

86. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the Indiana State Government for payment or
approval.

87. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
Indiana State Government to approve and pay such false and fraudulent claims.

88. The Indiana State Govemment, unaware of the falsity of the records, statements
and claims made, used, presented or caused to be made, used or presented by Defendants, paid
and continues to pay the claims that would not be paid but for the acts and/or conduct of
Defendants as alleged herein,

89. By reason of the Defendants’ acts, the State of Indiana has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

90. Pursuant to Ind. Code § 5-11-5.5-2(b), the State of Indiana is entitled to three

times the amount of actual damages plus at least $5,000 for each and every false or fraudulent

19

' Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 20 of 33 Page|D# 20

claim, record or statement made, used, presented or caused to be made, used or presented by
Defendants,

_COUN'I"|`____LL_V_E

(Massachusetts False Claims Law)
(Mass. Gen. Laws ch. 12, § 5A e_t B.)

91 . Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 90 of this Complaint as if fully set forth herein,

92. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the Massachusetts Commonwealth Government for
payment or approval.

93. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
Massachusetts Commonwealth Government to approve and pay such false and fraudulent claims.

94. The Massachusetts Commonwealth Govemment, unaware of the falsity of the
records, statements and claims made, used, presented or caused to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for the acts and/or
conduct of Defendants as alleged herein.

95. By reason of the Defendants’ acts, the Commonwealth of Massachusetts has been
damaged, and continues to be damaged, in substantial amounts to be determined at trial.

96. Pursuant to Mass. Gen. Laws ch. 12, § 5B, the Commonwealth of Massachusetts
is entitled to three times the amount of actual damages plus the maximum penalty of $10,000 for
each and every false or fraudulent claim, record or statement made, used, presented or caused to

be made, used or presented by Defendants.

20

' Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 21 of 33 Page|D# 21

Q<)IJNT_TME_N

(Montana False Claims Act)
(Mont. Code, Ch. 465 e_t B.)

97 . Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 96 of this Complaint as if fully set forth herein.

98. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the State of Montana for payment or approval.

99. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
Montana State Government to approve and pay such false and fraudulent claims.

100. The Montana State Govemment, unaware of the falsity of the records, statements
and claims made, used, presented or caused to be made, used or presented by Defendants, paid
and continues to pay the claims that would not be paid but for the acts and/or conduct of
Defendants as alleged herein.

101 . By reason of the Defendants’ acts, the State of Montana has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

102. Pursuant to Mont. Code, Ch. 465, the State of Montana is entitled to a civil
penalty equal to the full amount received by the person benefiting from the fraud plus triple the
amount of damages suffered by the state as a result of the conduct by the person.

COUNT FOURTEEN

(Nevada False Claims Act)
(Nev. Rev. Stat. § 357.010 e_t M.)

103. Relator repeats and incorporates by reference the allegations contained in

paragraphs 1 through 102 of this Complaint as if fully set forth herein,

21

l Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 22 of 33 Page|D# 22

104. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the Nevada State Government for payment or
approval.

105. By virtue of the acts described above, Defendants knoneg made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
Nevada State Government to approve and pay such false and fraudulent claims.

106. The Nevada State Govemment, unaware of the falsity of the records, statements
and claims made, used, presented or caused to be made, used or presented by Defendants, paid
and continues to pay the claims that would not be paid but for the acts and/or conduct of
Defendants as alleged herein.

107. By reason of the Defendants’ acts, the State of Nevada has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

108. Pursuant to Nev. Rev. Stat. § 357.040(1), the State of Nevada is entitled to three
times the amount of actual damages plus the maximum penalty of $10,000 for each and every
false or fraudulent claim, record or statement made, used, presented or caused to be made, used
or presented by Defendants.

COUNT FIFTEEN

(New Hampshire False Claims Act)
(N.H. Rev. Stat. Ann. § 167:61-b 91 s£q.)

109. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 108 of this Complaint as if fully set forth herein,

110. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the New Hampshire State Government for payment

or approval.

22

n Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 23 of 33 Page|D# 23

111. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
New Hampshire State Government to approve and pay such false and fraudulent claims.

112. The New Hampshire State Govemment, unaware of the falsity of the records,
statements and claims made, used, presented or caused to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for the acts and/or
conduct of Defendants as alleged herein,

1 13. By reason of the Defendants’ acts, the State of New Hampshire has been
damaged, and continues to be damaged, in substantial amounts to be determined at trial.

114. Pursuant to § 167:61-b, the State of New Hampshire is entitled to three times the
amount of actual damages plus the maximum penalty of $10,000 for each and every false or
fraudulent claim, record or statement made, used, presented or caused to be made, used or
presented by Defendants,

COUNT SIXTEEN

(New Jersey False Claims Act)
(N.J. Stat. Ann. § 2A:32C-1 gt M.)

115. Relator repeats and incorporates by reference the allegations contained in
paragraphs l through 114 of this Complaint as if fully set forth herein.

1 16. By virtue of the acts described above, Defendants knoneg presented or caused
to be presented, false or fraudulent claims to the New Jersey State Government for payment or
approval.

117. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the

New Jersey State Government to approve and pay such false and fraudulent claims.

23

' Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 24 of 33 Page|D# 24

118. The New Jersey State Govemment, unaware of the falsity of the records,
statements and claims made, used, presented or caused to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for the acts and/or
conduct of Defendants as alleged herein.

119. By reason of the Defendants’ acts, the State of New Jersey has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

120. Pursuant to N.J. Stat. Ann. § 2A:32C-3, the State of New Jersey is entitled to
three times the amount of actual damages plus the maximum penalty of $1 1,000 for each and
every false or fraudulent claim, record or statement made, used, presented or caused to be made,
used or presented by Defendants,

COUNT SEVENTEEN

(New Mexico Fraud Against Tax Payers Act)
(N.M. Stat. Ann. § 44-9-1 _e_t M.)

121. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 120 of this Complaint as if fully set forth herein,

122. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the New Mexico State Government for payment or
approval.

123. By virtue of the acts described above, Defendants knoneg made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
New Mexico State Government to approve and pay such false and fraudulent claims.

124. The New Mexico State Govemment, unaware of the falsity of the records,
statements and claims made, used, presented or caused to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for the acts and/or

conduct of Defendants as alleged herein,

24

, Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 25 of 33 Page|D# 25

125. By reason of the Defendants’ acts, the State of New Mexico has been damaged,
and continues to be damaged, in substantial amounts to be determined at trial.

126. Pursuant to N.M. Stat. Ann. § 44-9-3, the State of New Mexico is entitled to three
times the amount of actual damages plus the maximum penalty of $10,000 for each and every
false or fraudulent claim, record or statement made, used, presented or caused to be made, used
or presented by Defendants.

COUNT EIGHTEEN

(New York False Claims Act)
(N.Y. State Fin. Law § 187 §§ §r_zg.)

127. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 126 of this Complaint as if fully set forth herein,

128. By virtue of the acts described above, Defendants knowineg presented or caused
to be presented, false or fraudulent claims to the New York State Government for payment or
approval.

129. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
New York State Government to approve and pay such false and fraudulent claims.

130. The New York State Govemment, unaware of the falsity of the records,
statements and claims made, used, presented or caused to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for the acts and/or
conduct of Defendants as alleged herein.

131 . By reason of the Defendants’ acts, the State of New York has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

132. Pursuant to N.Y. State Fin. Law § 189, the State of New York is entitled to three

times the amount of actual damages plus the maximum penalty of $12,000 for each and every

25

. Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 26 of 33 Page|D# 26

false or fraudulent claim, record or statement made, used, presented or caused to be made, used
or presented by Defendants,

COUNT NINETEEN

(North Carolina False Claims Act)
(N.C. Gen. Stat. § 1-605 e_t M.)

133. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 132 of this Complaint.

134. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fi‘audulent claims to the North Carolina State Government for payment
or approval.

135. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
North Carolina State Government to approve and pay such false and fraudulent claims.

136. By virtue of the acts described above, Defendants conspired with each other and
with others to defraud North Carolina by inducing the North Carolina State Government to pay
or approve false or fraudulent claims.

137. The North Carolina State Govemment, unaware of the falsity of the records,
statements and claims made, used, presented or caused to be made, used or presented by
defendants, paid and continues to pay the claims that would not be paid but for the acts and/or
conduct of Defendants as alleged herein.

138. By reason of the Defendants’ acts, the State of North Carolina has been damaged,
and continues to be damaged, in substantial amount to be determined at trial.

139. Pursuant to N.C. Gen. Stat. § 1-607(a), The State of North Carolina is entitled to

three times the amount of the actual damages plus the maximum penalty of $11,000 for each and

26

' Case 1:11-cv-00890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 27 of 33 Page|D# 27

every false or fraudulent claim, record or statement made, used, presented or caused to be made,
used or presented by defendants
COUNT TWENTY

('l`he State False Claims Act (Rhode Island)
(R.I. Gen. Laws § 9-1.1-1 e_t M.)

140. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 139 of this Complaint as if fully set forth herein.

141 . By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the Rhode Island State Government for payment or
approval.

142. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
Rhode Island State Government to approve and pay such false and Haudulent claims.

143. The Rhode Island State Govemment, unaware of the falsity of the records,
statements and claims made, used, presented or caused to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for the acts and/or
conduct of Defendants as alleged herein,

144. By reason of` the Defendants’ acts, the State of Rhode Island has been damaged,
and continues to be damaged, in substantial amounts to be determined at trial.

145. Pursuant to R.I. Gen. Laws § 9-1.1-3, the State of Rhode Island is entitled to three
times the amount of actual damages plus the maximum penalty of $10,000 for each and every

false or fraudulent claim, record or statement made, used, presented or caused to be made, used

or presented by Defendants,

27

' Case 1:11-cv-OO890-C|\/|H-TCB Document 1 Filed 08/19/11 Page 28 of 33 Page|D# 28

COUNT TWENTY-ONE

(Tennessee False Claims Act)
(Tenn. Code Ann. § 4-18-101 91 _s_gg.)

146. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 145 of this Complaint as if fully set forth herein.

147. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the Tennessee State Government for payment or
approval.

148. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
Tennessee State Government to approve and pay such false and fraudulent claims.

149. The Tennessee State Govemment, unaware of the falsity of the records,
statements and claims made, used, presented or caused to be made, used or presented by
Defendants, paid and continues to pay the claims that would not be paid but for the acts and/or
conduct of Defendants as alleged herein.

150. By reason of Defendants’ acts, the State of Tennessee has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

151. Pursuant to Tenn. Code § 4-18-103(a), the State of Tennessee is entitled to three
times the amount of actual damages plus the maximum penalty of` $10,000 for each and every
false or fraudulent claim, record or statement made, used, presented or caused to be made, used
or presented by Defendants,

COUNT TWENTY-TWO

(Virginia Fraud Against Taxpayers Act)
(Va. Code Ann. § 8.01-216.1 e_t M.)

152. Relator repeats and incorporates by reference the allegations contained in

paragraphs 1 through 151 of this Complaint as if fully set forth herein.

28

v Case 1:11-cv-OO890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 29 of 33 Page|D# 29

153. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the State of Virginia for payment or approval.

154. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the
State of Virginia to approve and pay such false and fraudulent claims.

155. The State of Virginia, unaware of the falsity of the records, statements and claims
made, used, presented or caused to be made, used or presented by Defendants, paid and
continues to pay the claims that would not be paid but for the acts and/or conduct of Defendants
as alleged herein.

156. By reason of Defendants’ acts, the State of Virginia has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

157. Pursuant to Va. Code § 8.01-216.3(A), the State of Virginia is entitled to three
times the amount of actual damages plus the maximum penalty of $10,000 for each and every
false or fraudulent claim, record or statement made, used, presented or caused to be made, used
or presented by Defendants.

COUNT 'I`WENTY-THREE

(Chicago False Claims Act)
(Chicago Municipal Code, ch. 1-22 §§ M.)

15 8. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 157 of this Complaint as if fully set forth herein,

159. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to the City of Chicago for payment or approval.

160. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce the

City of Chicago to approve and pay such false and fraudulent claims.

29

. Case 1:11-cv-OO890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 30 of 33 Page|D# 30

161. The City of Chicago, unaware of the falsity of the records, statements and claims
made, used, presented or caused to be made, used or presented by Defendants, paid and
continues to pay the claims that would not be paid but for the acts and/or conduct of Defendants
as alleged herein.

162. By reason of Defendants’ acts, the City of Chicago has been damaged, and
continues to be damaged, in substantial amounts to be determined at trial.

163. Pursuant to Chicago Municipal Code, ch. 1-22-020, the City of Chicago is entitled
to three times the amount of actual damages plus the civil penalty of not less than $5,000 and not
more than $10,000 for each and every false or fraudulent claim, record or statement made, used,
presented or caused to be made, used or presented by Defendants.

COUNT TWENTY-FOUR

(New York City False Claims Act)
(N.Y.C. Admin. Code § 7-801 91 M.)

164. Relator repeats and incorporates by reference the allegations contained in
paragraphs 1 through 163 of this Complaint as if firlly set forth herein,

165. By virtue of the acts described above, Defendants knowingly presented or caused
to be presented, false or fraudulent claims to New York City for payment or approval.

166. By virtue of the acts described above, Defendants knowingly made, used, or
caused to be made or used false records and statements, and omitted material facts, to induce
New York City to approve and pay such false and fraudulent claims.

167. New York City, unaware of the falsity of the records, statements and claims
made, used, presented or caused to be made, used or presented by Defendants, paid and
continues to pay the claims that would not be paid but for the acts and/or conduct of Defendants

as alleged herein,

30

Case 1:11-cv-OO890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 31 of 33 Page|D# 31

168. By reason of Defendants’ acts, New York City has been damaged, and continues
to be damaged, in substantial amounts to be determined at trial.

169. Pursuant to N.Y.C. Admin. Code § 7-803, New York City is entitled to three
times the amount of actual damages plus a civil penalty of between $5,000 and $15,000 for each
and every false or fraudulent claim, record or statement made, used, presented or caused to be
made, used or presented by Defendants.

VIII. DEMANDS FOR RELIEF

WHEREFORE, Relator, on behalf of the United States Government and Plaintiff States
and Local Govemments demands judgment against the above-named Defendants, ordering:
As to the Federal Claims:

a. Pursuant to 31 U.S.C. § 3729(a), Defendants pay an amount equal to three times
the amount of damages the United States Government has sustained as a result of Defendants’
actions, plus a civil penalty of not less than $5,500 and not more than $11,000 for each violation
of 31 U.S.C. § 3729 e_t _s_eg., or such other penalty as the law may permit and/or require for each
violation of other laws which governed Defendant’s conduct;

b. Relator be awarded his relator’s share of the judgment to the maximum amount
provided pursuant to 31 U.S.C. § 3730(d) of the False Claims Act and/or any other applicable
provision of law;

c. Relator be awarded all costs and expenses of this action, including attomeys’ fees
as provided by 31 U.S.C. § 3730(d) and any other applicable provision of the law; and

d. Relator and the United States of America be awarded such other and further relief
as the Court may deem to be just and proper.

As to the State and Cit_v_ Claims:
e. Relator and each named Plaintiff State and Local Government be awarded

statutory damages in an amount equal to three times the amount of actual damages sustained by
31

. Case 1:11-cv-OO890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 32 of 33 Page|D# 32

each Plaintiff State and Local Government as a result of Defendants’ actions, as well as the
maximum statutory civil penalty for each violation by Defendants within each Plaintiff State and
Local Govemment, all as provided by: D.C. Code Ann. § 2-308.14; Cal. Govt Code §12651(a);
Del. Code Ann. Tit. 6, §1201(a); Fla. Stat. Ann. § 68.082(2); Haw. Rev. Stat. § 661-21(a); 740
Ill. Comp. Stat. §175/3(a); Ind. Code 5-11-5.5-2(b); Mass. Gen. Laws ch. 12 §SB; Mont. Code
Ann. § 17-8-403; Nev. Rev. Stat. § 357.040(1); N.H. Rev. Staat. Ann § 167:61-b;N..1. Stat. Ann.
§ 2A:32C-3; N.M. Stat. Ann.§ 44-9-3; N.Y. State Fin.Law. § 189; N.C. Gen. Stat. § 1 - 605; R.I.
Gen. Laws § 9-1.1-3; Tenn. Code § 4-18-103; Va. Code Ann. § 8.01-216.3(A); Chicago
Municipal Code, ch. 1-22-020; and N.Y.C. Admin. Code § 7-803.

f. Relator be awarded his relator’s share of any judgment to the maximum amount
provided pursuant to D.C. Code Ann. § 2-308.15; Cal. Govt. Code § 12651; Del Code Ann. tit. 6,
§ 1205; Fla. Stat. Ann. § 68.085; Haw. Rev. Stat. § 661-27; 740111. Comp. Stat. § 175/4; Ind.
Code § 5-11-5.5-6; Mass. Gen. Laws ch. 12, § 5F; Mont. Code Ann. § 17-8-410; Nev. Rev. Stat.
§ 357.210; N.H. Rev. Stat. Ann. § 167:6l-e; N.J. Stat. Ann. § 2A:32C-7; N.M. Stat. Ann. § 44-9-
7; N.Y. State Fin. Law § 192; N.C. Gen. Stat. § 1 - 605; R.I. Gen. Laws § 9-1.1-4; Tenn. Code
Ann. § 4-18-104(g); Va. Code Ann. § 8.01-216.7; Chicago Municipal Code, ch. 1-22-020; and
N.Y.C. Admin. Code § 7-803.

g. Relator be awarded all costs and expenses associated with each of the Plaintiff
State and Local Government claims, plus attorney’s fees as provided pursuant to: D.C. Code
Ann. § 2-308.15; Cal. Govt. Code § 12651; Del Code Ann. tit. 6, § 1205;F1a. Stat. Ann. §
68.085; Haw. Rev. Stat. § 661-27, 740; Ill. Comp. Stat. § 175/4; Ind. Code § 5-11-5.5-6; Mass.
Gen. Laws ch. 12, § 5F; Mont. Code Ann. § 17-8-410; Nev. Rev. Stat. § 357.180; N.H. Rev.
Stat. Ann. § 167:61-e; N.J. Stat. Ann. § 2A:32C-7; N.M. Stat. Ann. § 44-9-7; N.Y. State Fin.

Law § 192; N.C. Gen. Stat. §§ 1 - 605; R.I. Gen. Laws § 9-1.1-4; Tenn. Code Ann. § 4-18-

32

Case 1:11-cv-OO890-CI\/|H-TCB Document 1 Filed 08/19/11 Page 33 of 33 Page|D# 33

104(g); Va. Code Ann. § 8.01~216.7; Chicago Municipal Code, ch. 1-22-020; and N.Y.C.
Admin. Code § 7-803.
h. Relator and the Plaintiff States and Local Govemments be awarded such other
and further relief as the Court may deem to be just and proper.
TRIAL BY JURY

Relator hereby demands a trial by jury as to all issues.

 

Dated: August 19, 2011

 

sq‘Zasr-ian A. Hoeges, vsB # 78595)

Julie Grohovsky

Shanlon Wu

WU, GROHOVSKY & WHIPPLE, P.L.L.C.
Ronald Reagan lnternational Trade Center
1300 Pennsylvania Avenue, N.W.

Suite 700

Washington, D.C. 20004

202-204-3053

Attomeys for Relator Robert K. Fulk

33

